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                     UNITED STATES COURT OF APPEALS FOR THE TENTH CIRCUIT
                              Byron White United States Courthouse
                                       1823 Stout Street
                                    Denver, Colorado 80257
                                        (303) 844-3157



Tenth Circuit Appellate Case No: 25-1175

        Consolidated with Appeal No: 25-1176
TANNER SHOLES,
        Appellee,

v.

MCINTYRE, et al

        Appellants

NOTICE OF PLAINTIFF’S COUNSEL’S MOTION TO WITHDRAW AS COUNSEL IN
               RELATED CIVIL ACTION 1:24-CV-01664-STV

        Kishinevsky & Raykin, LLC, hereby notifies the Court and Parties of its, and all

associated employees’, Motion to Withdraw in related civil action 1:24-CV-01664-STV.

     1. On April 30, 2025, Defendants Chip McIntyre, Kurtis Luster, Nate Businger, Brandon

Montoya, Matt Hammer filed Notice of Appeal in related civil action 1:24-CV-01664-STV,

initiating this action.

     2. The same day Defendants Tracey Mendoza, Dalton Caudell also filed Notice of Appeal

in 1:24-CV-01664-STV.

     3. On May 1, 2025, the Court ordered the parties to file their entries of appearance by May

15, 2025, pursuant to Docket Entry #1.

     4. On May 5, 2025, Plaintiff informed counsel, Kishinevsky & Raykin, LLC of his decision

to terminate representation.
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    5. On May 5, 2025, Counsel, Elizabeth Wang entered her appearance in civil action 1:24-

CV-01664-STV on behalf of Plaintiff:

          Elizabeth Wang
          Loevy & Loevy
          2060 Broadway Street
          Suite 460
          Boulder, CO 80302
          720-328-5642
          Fax: 312-243-5902
          Email: elizabethw@loevy.com
    6. On May 7, 2025, Kishinevsky & Raykin, LLC, provided Ms. Wang with the Plaintiff’s

file.

    7. On May 7, 2025, Kishinevsky & Raykin, LLC received the following notices in this

matter:

             a. Acknowledgement of Transcript Order filed by Defendants Nate Businger, Matt

                Hammer, Kurtis Luster, Chip McIntyre, and Bandon Montoya.

             b. Docketing Statement filed by Defendants Nate Businger, Matt Hammer, Kurtis

                Luster, Chip McIntyre, and Bandon Montoya.

             c. Minute Order filed by Jeffery P. Colwell, Clerk of Court.

             d. Entry of Appearance by David M. Goddard for Defendants Chip McIntyre, Kurtis

                Luster, Nate Businger, Brandon Montoya and Matt Hammer.

             e. Docket Entry #2, consolidating appeals nos. 25-1175 and 25-1176.

             f. Record complete.

    8. On May 8, 2025, Kishinevsky & Raykin filed Motion to Withdraw as Counsel in related

civil action 1:24-CV-01664-STV.

    9. The Motion to Withdraw as Counsel advised the client Plaintiff of the notification

requirements set forth in D.C.COLO.LAttyR 5(b).
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    WHEREFORE, counsel Kishinevksy & Raykin, LLC respectfully notifies the Court and all

Parties of its intent to seek withdrawal and the entry of Loevy & Loevy, as counsel on behalf of

the Plaintiff.

Respectfully submitted this May 8, 2025.

                 By: s/Igor Raykin
                 Igor Raykin
                 Conor O’Donnell
                 2581 S. Parker Rd., Ste. 150
                 (720) 863-4256
                 igor@coloradolawteam.com
                 conor@coloradolawteam.com
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                              CERTIFICATE OF SERVICE
        I certify that on May 8, 2025, a true and correct copy of the foregoing Motion to
Withdraw as Counsel was filed via the Court’s CM/ECF system and served upon all parties of
record.
                                                         s/Krystle Jennings
                                                         Krystle Jennings,
                                                         Paralegal
                                                         Kishinevsky & Raykin, LLC
